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                            UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF WEST VIRGINIA
                                   AT CHARLESTON


IN RE: ETHICON, INC. PELVIC REPAIR                        Master File No. 2:12-MD-02327
SYSTEM PRODUCTS LIABILITY                                         MDL No. 2327
LIGITATION

                                                              JOSEPH R. GOODWIN
THIS DOCUMENT RELATES TO ALL                                  U.S. DISTRICT JUDGE
CASES



                             DECLARATION OF PAMELA DOWNS

        Pamela Downs deposes and says:

        1.      My name is Pamela Downs. I am over twenty-one years of age and of sound

mind. I am competent to testify about all of the matters set out in this Declaration.

        2.      I am employed as a Senior Director at Epiq Systems, Inc., eDiscovery and

Litigation Solutions. During my 26 year career supporting the legal services industry, I have

extensive experience in the assessment, collection and production of hard copy and electronically

stored information in litigated matters.

        3.      In January 2013, on behalf of Ethicon, Inc. (“Ethicon”), I was retained to

investigate the nature and scope of documents outside of the United States (“ex-US documents”)

maintained by Ethicon, along with the associated burdens to collect them with respect to the

products at issue in this litigation.

        4.      During the course of my investigation, I have interviewed approximately 60

persons. I have conducted these interviews in connection with preparation for the Fed. R. Civ. P.

30(b)(6) deposition concerning ex-US documents.



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       5.        I have focused my investigation primarily upon the following categories of

documents: regulatory, professional education, marketing, sales training, public relations, copy

approval, design and development, pre-clinical studies, clinical trials, post market surveillance,

global records management, legal hold management, health care compliance, and labeling.

       6.        I have also reviewed the following documents during the course of my

investigation:    Regulatory Affairs International Country Listing, Operating Procedure 608-012

regarding Copy Approval, Policy 553-005 For Records Management, Form Use Instructions

0001698 regarding Records Inventory Indexing, Process Specification 0000117 regarding Onsite

Paper/Electronic Records Clean-up, 11 relevant Legal Hold Notices, Production Letters from

LeClairRyan, and Custodian Sources Listing In Re: Ethicon, Inc. Pelvic Floor Repair System,

Product Liability Litigation.

       7.        Based on the information that I have been provided, it is my understanding that

the 15 products at issue in this litigation are sold in approximately 190 countries and regulated in

67 countries. There are approximately 915 separate regulatory filings and approvals (this does

not included renewals) ex-US for the 15 products. For example, the TVT “Classic”product has

received regulatory approval in approximately 67 countries. TVT AA has received regulatory

approval in approximately 56 countries. TVT Abbrevo has received regulatory approval in

approximately 61 countries. TVT Exact has received regulatory approval in approximately 61

countries. TVT O has received regulatory approval in approximately 60 countries. TVT Secur

has received regulatory approval in approximately 61 countries.

       8.        Based on my investigation, I have determined that for products sold in countries

other than the United States, unique documents relating to those products, such as regulatory,




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marketing and professional education documents, are generally stored in the country of origin. I

have further determined that those unique documents are not aggregated in a central repository.

       9.      I have also found that many documents used in countries other than the United

States, such as marketing materials, are simply translated or slightly modified (e.g. to include

local contact information) versions of materials that are used in the United States.

       10.     Generally speaking, to globally collect ex-US documents would be a massive,

190+ country undertaking for all countries and a 67 country undertaking for regulated countries.

As stated, there is no central repository that maintains these documents. Instead, to collect the

documents would require locating a knowledgeable subject matter point of contact for each

particular document category, in 190 or 67 countries. For each document category or subject

area, whether it be regulatory, marketing or something else, the point of contact will almost

always be different. Once that point of contact is established, that person or persons must then

locate the relevant documents that could be stored in, for example, South Africa. Once those

documents are located, they then must be collected and sent to the United States for review and

production. This repetitive process would be generally required for each document category or

subject matter in each country.

       11.     By way of example, for Australia, I spoke to five different individuals regarding

documents in the following subject areas: Regulatory, Professional Education, Marketing and

Sales Training. Also, based upon information I was provided by in-house counsel and the Epiq

Systems’collection consultants, they spoke to thirteen additional individuals to collect 56

megabytes of unique Marketing documents and one website.             For Japan, I spoke to three

different individuals regarding documents in the following subject areas:              Regulatory,

Professional Education, Marketing and Sales Training. The Epiq Systems’collection consultants


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spoke to three additional individuals to collect the unique Marketing documents and one website

from Japan.

       12.    I have also been asked to provide examples of the voluminous ex-US documents

that have been produced.     Below are my conclusions based on reviewing the contents of

Ethicon’s production.

       13.    Ethicon has produced the custodial files of approximately 52 ex-US custodians

that totals nearly 250,000 documents.

       14.    Ethicon has produced relevant documents from numerous ex-US central sources

and databases, including Norderstedt ACMS Agile (including Neuchatel Agile), EU Clinical

Research Data Entry Group Share, EU Health Care Compliance Group Share, UK 522 Order

Group Share, UK TMF Paper Files, and UK Trial Master File Group Share.

       15.    Many other categories of ex-US documents have been produced.             Although

certainly not exhaustive, below are additional examples:

       The International Regulatory SharePoint was previously produced on October 1, 2012.
       This is the vehicle used by U.S. Regulatory Affairs to communicate with international
       employees completing international regulatory filings.

       The Agile IFU repository containing materials distributed outside of the United States
       was produced on March 30, 2012 and the GGM Blue marketing repository was produced
       on December 30, 2011 and February 15 and 17, 2012 .

       The custodial files of the Europe, Middle East and Africa Marketing Manager and the
       Latin America Marketing Manager were previously produced.

       With very few exceptions, all international sales representatives were trained in the US
       and the US sales training group share and other information was previously produced on
       February 23, 2012 and March 2, 2012.

       Investigator Studies maintained in the United Kingdom were produced August 7, 2012.




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